          Case 2:22-cv-05976-RPK-ST Document 6 Filed 10/06/22 Page 1 of 6 PageID #: 78

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

   Michael Nachman, individually and on behalf of a                  )
          class of similarly situated persons                        )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 22-cv-05976-RPK-ST
                                                                     )
  Telsa, Inc., Tesla Lease Trust, and Tesla Finance                  )
                         LLC                                         )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Tesla, Inc.
                                           13101 Tesla Road
                                           Austin, Texas 78725




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Charles D. Moore               Michael R. Reese        George V. Granade
                                           100 S. 5th Street     100 W. 93rd Street        8484 Wilshire Boulevard
                                           Suite 1900            16th Floor                Suite 515
                                           Minneapolis, MN 55402 New York, NY 10025        Los Angeles, CA 90211



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                              CLERK OF COURT


Date:    10/06/2022
                                                                                          Signature off Cl
                                                                                          Si            Clerkk or D
                                                                                                                  Deputy Clerk
           Case 2:22-cv-05976-RPK-ST Document 6 Filed 10/06/22 Page 2 of 6 PageID #: 79

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
          Case 2:22-cv-05976-RPK-ST Document 6 Filed 10/06/22 Page 3 of 6 PageID #: 80

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New   York
                                                                            __________

   Michael Nachman, individually and on behalf of a                 )
          class of similarly situated persons                       )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 22-cv-05976-RPK-ST
                                                                    )
  Telsa, Inc., Tesla Lease Trust, and Tesla Finance                 )
                         LLC                                        )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Tesla Lease Trust
                                           3500 Deer Creek Road
                                           Palo Alto, CA 94304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Charles D. Moore               Michael R. Reese        George V. Granade
                                           100 S. 5th Street     100 W. 93rd Street       8484 Wilshire Boulevard
                                           Suite 1900            16th Floor               Suite 515
                                           Minneapolis, MN 55402 New York, NY 10025       Los Angeles, CA 90211



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                              CLERK OF COURT


Date:    10/06/2022
                                                                                         Signature off Cl
                                                                                         Si            Clerkk or D
                                                                                                                 Deputy Clerk
           Case 2:22-cv-05976-RPK-ST Document 6 Filed 10/06/22 Page 4 of 6 PageID #: 81

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
          Case 2:22-cv-05976-RPK-ST Document 6 Filed 10/06/22 Page 5 of 6 PageID #: 82

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New   York
                                                                            __________

   Michael Nachman, individually and on behalf of a                 )
          class of similarly situated persons                       )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 22-cv-05976-RPK-ST
                                                                    )
  Telsa, Inc., Tesla Lease Trust, and Tesla Finance                 )
                         LLC                                        )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Tesla Finance LLC
                                           3500 Deer Creek Road
                                           Palo Alto, CA 94304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Charles D. Moore               Michael R. Reese        George V. Granade
                                           100 S. 5th Street     100 W. 93rd Street       8484 Wilshire Boulevard
                                           Suite 1900            16th Floor               Suite 515
                                           Minneapolis, MN 55402 New York, NY 10025       Los Angeles, CA 90211



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                              CLERK OF COURT


Date:    10/06/2022
                                                                                         Signature of Clerk or D
                                                                                                               Deputy Clerk
           Case 2:22-cv-05976-RPK-ST Document 6 Filed 10/06/22 Page 6 of 6 PageID #: 83

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
